                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                      CIVIL ACTION NO. 3:20-CV-555-RJC-DCK

 CRYSTAL LOOPER,                                           )
                                                           )
                Plaintiff,                                 )
                                                           )
    v.                                                     )   ORDER
                                                           )
 C.R. BARD, INC. and                                       )
 BARD PERIPHERAL VASCULAR, INC.,                           )
                                                           )
                Defendants.                                )
                                                           )

         THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice and Affidavit” (Document No. 8) filed by Whitney Jo Butcher, concerning Benjamin C.

Stellpflug on October 21, 2020. Benjamin C. Stellpflug seeks to appear as counsel pro hac vice

for Plaintiff Crystal Looper.     Upon review and consideration of the motion, which was

accompanied by submission of the necessary fee and information, the Court will grant the motion.

         IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice and Affidavit” (Document No. 8) is GRANTED. Benjamin C.

Stellpflug is hereby admitted pro hac vice to represent Plaintiff Crystal Looper.


                                Signed: October 21, 2020




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